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 1                                                    The Honorable Brian A. Tsuchida
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 6
 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
 9
10
     IN THE MATTER OF THE SEARCH OF                CASE NO.       MJ20-206
11   INFORMATION ASSOCIATED WITH
12   TWO EMAIL ACCOUNTS THAT ARE                   APPLICATION FOR NON
     STORED AT PREMISES                            DISCLOSURE ORDER REGARDING
13   CONTROLLED BY MICROSOFT                       EXISTENCE OF WARRANT
14                                                 PURSUANT TO 18 U.S.C.
                                                   § 2705(b)
15
16                                                 (FILED UNDER SEAL)
17
            The United States requests that the Court order Microsoft Corporation not to
18
     notify any person, including the subscribers and customers of the accounts listed in the
19
     above captioned warrant, of the existence of the warrant for a period of one year.
20
            Microsoft is a provider of an electronic communication service, as defined in 18
21
     U.S.C. § 2510(15), and/or a remote computer service, as defined in 18 U.S.C. § 2711(2).
22
     The attached warrant orders Microsoft to disclose certain records and information
23
     regarding the accounts. This Court has authority under 18 U.S.C. § 2705(b) to issue “an
24
     order commanding a provider of electronic communications service or remote computing
25
     service to whom a warrant, subpoena, or court order is directed, for such period as the
26
     court deems appropriate, not to notify any other person of the existence of the warrant,
27
     subpoena, or court order.” Id.
28
      APPLICATION FOR NON DISCLOSURE - 1                                      UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      USAO # 2020R00187                                                        SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
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 1          In this case, such an order is appropriate because the warrant relates to an ongoing
 2 criminal investigation. The Federal Bureau of Investigation (“FBI”) is investigating
 3 whether LLUVIA FIGUEROA solicited a hitman to murder her boyfriend’s wife, in
 4 violation of 18 U.S.C § 1958. This investigation is neither entirely public nor known to
 5 all of the subjects of the investigation.
 6          Accordingly, there is reason to believe that notification of the existence of the
 7 warrant will seriously jeopardize the investigation or unduly delay a trial, including by
 8 giving the target an opportunity to flee or continue flight from prosecution, destroy or
 9 tamper with evidence, or change patterns of behavior. See 18 U.S.C. § 2705(b). Some of
10 the evidence in this investigation is stored electronically. If alerted to the existence of the
11 warrant, the subjects under investigation could destroy that evidence, including
12 information saved to additional email accounts or computers. WHEREFORE, the United
13 States respectfully requests that the Court grant the attached Order directing Microsoft
14 not to disclose the existence or content of the warrant for a period of one year, unless
15 further ordered by the Court, except that Microsoft may disclose the warrant to an
16 attorney for Microsoft for the purpose of receiving legal advice.
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     APPLICATION FOR NON DISCLOSURE - 2                                       UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     USAO # 2020R00187                                                         SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
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 1         The United States further requests that the Court order that this application and
 2 any resulting order be sealed until further order of the Court. As explained above, these
 3 documents discuss an ongoing criminal investigation that is neither public nor known to
 4 all targets of the investigation. Accordingly, there is good cause to seal these documents
 5 because their premature disclosure may seriously jeopardize that investigation.
 6         DATED this 23rd day of April, 2020.
 7
                                              Respectfully submitted,
 8
                                              BRIAN T. MORAN
 9
                                              United States Attorney
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11
                                              /s/ Marie M. Dalton___________
12                                            MARIE M. DALTON
                                              Assistant United States Attorney
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     APPLICATION FOR NON DISCLOSURE - 3                                     UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO # 2020R00187                                                       SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
